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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0754V
                                          UNPUBLISHED


    RODERICK SANDERS,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: August 25, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Joseph Alexander Vuckovich, Maglio Christopher & Toale, PA, Washington, DC, for
petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

      On May 29, 2018, Roderick Sanders filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of Tetanus Diphtheria acellular Pertussis (“Tdap”)
vaccine he received on December 21, 2016. Petition at 1-2. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

     On May 3, 2019, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On August 24, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $108,212.43

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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(comprised of $87,500.00 for pain and suffering, $718.20 for past unreimbursable
expenses, and $19,994.23 for future medical care expenses). Proffer at 1-2. In the
Proffer, Respondent represented that Petitioner agrees with the proffered award. Id.
Based on the record as a whole, I find that Petitioner is entitled to an award as stated in
the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $108,212.43 (comprised of $87,500.00 for pain and suffering,
$718.20 for past unreimbursable expenses, and $19,994.23 for future medical care
expenses) in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                     )
 RODERICK SANDERS,                                   )
                                                     )
                Petitioner,                          )
                                                     )   No. 18-754V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 29, 2018, Roderick Sanders (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that he suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table (“Table”), following

administration of a Tetanus Diphtheria acellular Pertussis (“Tdap”) vaccine he received on

December 21, 2016. Petition at 1-2. However, on April 19, 2019, the Secretary of Health and

Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case was appropriate

for compensation under the terms of the Act for a brachial neuritis Table injury, and on May 3,

2019, the Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to

compensation. ECF No. 26; ECF No. 27.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $87,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

related to his vaccine-related injury. Respondent proffers that petitioner should be awarded past

unreimbursable expenses in the amount of $718.20. See 42 U.S.C. § 300aa-15(a)(1)(B).

Petitioner agrees.

       C.       Future Medical Care Expenses

       Evidence supplied by petitioner documents that he will incur future medical care

expenses related to his vaccine-related injury. Respondent proffers that petitioner should be

awarded future medical care expenses in the amount of $19,994.23. See 42 U.S.C. § 300aa-

15(a)(1)(A).

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $108,212.43, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Roderick Sanders:                            $108,212.43




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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                                  Respectfully submitted,

                                  ETHAN P. DAVIS
                                  Acting Assistant Attorney General

                                  C. SALVATORE D’ALESSIO
                                  Acting Director
                                  Torts Branch, Civil Division

                                  CATHARINE E. REEVES
                                  Deputy Director
                                  Torts Branch, Civil Division

                                  ALEXIS B. BABCOCK
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  /s/ Colleen C. Hartley
                                  COLLEEN C. HARTLEY
                                  Trial Attorney
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DATED: August 24, 2020




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